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     Attorneys for Defendant
 6         FILBERTO GONZALEZ
 7

 8                              IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE NORTERN DISTRICT OF CALIFORNIA
10
                                                            )
11   UNITED STATES OF AMERICA,                              )    No. CR 05-413 SBA
                                                            )
12
                      Plaintiff,                            )    STIPULATION AND
13
                                                            )    ORDER FOR
             v.                                             )    PRESERVATION OF
14                                                          )    RECORDINGS
     FILIBERTO GONZALEZ,                                    )
15                                                          )
                      Defendant.                            )
16

17           During the course of the criminal investigation underlying the charges in this action,
18
     law enforcement officers on two occasions directed officers with the Contra Costa Sheriff’s
19

20
     Department to stop a vehicle allegedly driven by defendant Filiberto Gonzalez. This

21   occurred on March 1, 2005 and on March 15, 2005.
22
             By California law, certain radio transmissions involving law enforcement agencies
23
     are recorded and those recordings preserved for a limited amount of time. Absent court
24

25   order or as otherwise agreed by the law enforcement agency involved, those recordings are
26
     thereafter destroyed.
27

28




     Stipulation for Preservation of Recordings                                                    1
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 1
             It is believed that there may be radio transmissions regarding each of the above

 2   detentions of defendant Gonzalez by law enforcement officers. Those radio transmissions
 3
     (and related printouts) are in the custody of the Communications Department of the Contra
 4
     Costa County Sheriff’s Department. The Director of that Department has informed Scott A.
 5

 6   Sugarman, attorney for defendant Gonzalez, that she currently has such recordings but that
 7
     they will be destroyed absent court order.
 8
             To preserve such evidence for possible use in this pending matter, the parties
 9

10   STIPULATE that this Court should issue an Order directing the Communications
11
     Department of the Contra Costa County Sheriff’s Department to preserve, for one year or
12
     until further order of the court, all recordings (regardless of medium) and related printouts of
13

14   radio communications or electronic communications between officers or between officer and
15   dispatch, regardless of the channel on which such communications were made, regarding or
16
     related to the following:
17

18          1) on March 1, 2005, at approximately 3:01 p.m., a car stop by Contra Costa County
     Sheriff’s Deputy Shrader of Filiberto Gonzalez Gomez near Highway 4 and Highway 680,
19   including subsequent meeting between Deputy Shrader and officers associated with
20
     WESTNET approximately an hour later; and

21          2) on March 15, 2005, at approximately 8:54 p.m., a car stop by Contra Costa County
22
     Sheriff’s Officer Roberts of Filiberto Gonzalez, near Highway 4 and Willow Pass Road.

23   It is further STIPULATED that a copy of all such recordings and related printouts shall be
24
     provided to counsel for all parties.
25
     So Stipulated.
26

27   DATED:                                                 ______/s___________________
                                                            Scott A. Sugarman
28
                                                            Attorney for Filiberto Gonzalez


     Stipulation for Preservation of Recordings                                                     2
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 1

 2   DATED:                                                 ______/s____________________
                                                            Shaun Halbert
 3
                                                            Attorney for Martiniano Arcigaleon
 4

 5
     DATED:                                                 ______/s____________________
 6                                                          Brian Stretch
                                                            Assistant United States Attorney
 7

 8
                                                     ORDER
 9

10           GOOD CAUSE APPEARING, the Communications Department of the Contra Costa
11
     County Sheriff’s Department is hereby ORDERED to preserve, for one year or until further
12
     order of the court, all recordings (regardless of medium) and related printouts of radio
13

14   communications or electronic communications between officers or between officer and
15   dispatch, regardless of the channel on which such communications were made, regarding or
16
     related to the following:
17

18          1) on March 1, 2005, at approximately 3:01 p.m., a car stop by Contra Costa County
     Sheriff’s Deputy Shrader of Filiberto Gonzalez Gomez near Highway 4 and Highway 680,
19   including subsequent meeting between Deputy Shrader and officers associated with
20
     WESTNET approximately an hour later; and

21          2) on March 15, 2005, at approximately 8:54 p.m., a car stop by Contra Costa County
22
     Sheriff’s Officer Roberts of Filiberto Gonzalez, near Highway 4 and Willow Pass Road.

23   It is further ORDERED that Communications Department of the Contra Costa County
24
     Sheriff’s Department shall provide a copy of all such recordings and related printouts to
25
     counsel for all parties.
26

27   DATED: 8/29/05                                         s/ Saundra Brown Armstrong
                                                            UNITED STATE DISTRICT JUDGE
28




     Stipulation for Preservation of Recordings                                                   3
